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 5

 6 Attorneys for Plaintiff
   Sony Interactive Entertainment LLC
 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10

11
     SONY INTERACTIVE ENTERTAINMENT                       Case No.: 5:18−cv−02141−JGB−KK
12
     LLC,
13                                                        NOTICE OF MOTION AND MOTION OF
                            Plaintiff,                    SONY INTERACTIVE
14                                                        ENTERTAINMENT LLC’S MOTION FOR
15                                                        ENTRY OF DEFAULT JUDGMENT
                            v.
16                                                        Date: March 18, 2019
   ERIC DAVID SCALES (doing business as
                                                          Time: 9:00 a.m.
17 Blackcloak13),                                         Dept.: Courtroom 1
18          Defendant.
19
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21          TO DEFENDANT: PLEASE TAKE NOTICE THAT on March 18, 2019, at 9:00 a.m., or

22 as soon thereafter as the matter may be heard in Courtroom 1 of the United States District Court,

23 Central District of California, Riverside Division, located at 3470 12th St, Riverside, CA92501,

24 before the honorable Jesus G. Bernal, Plaintiff SONY INTERACTIVE ENTERTAINMENT

25 LLC shall, and hereby does, move the Court for a Default Judgment against Defendant ERIC

26 DAVID SCALES (doing business as Blackcloak13).

27          This Motion is made pursuant to Federal Rules of Civil Procedure Rule 54 and Rule

28 55 and Local Rule 55-1. As more fully set forth in the Memorandum of Points and Authorities



     NOTICE OF MOTION AND MOTION OF SONY INTERACTIVE ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT
     JUDGMENT    Case No. 5:18−cv−02141−JGB−KK
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 1 in Support of the Motion filed herewith, Plaintiff requests entry of a default judgment against

 2 Defendant on the grounds that Defendant was properly served with, but failed to respond to,

 3 the Complaint in this action and his default was entered by the Clerk of this Court on

 4 December 6, 2018.

 5          The motion is based on this Notice of Motion and Motion, the Memorandum of Points

 6 and Authorities in Support of the Motion, and the Declarations of Monika Pleyer Lee, James Y.

 7 Leong and Timothy Penge filed herewith, the papers and records on file in this action, and such

 8 other written and oral arguments as may be presented to the Court.

 9          A Proposed Judgment is attached hereto.

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        Dated: February 22, 2019                         LEE LAW OFFICES
11
                                                                /s/Monika Pleyer Lee
12                                                       Monika Pleyer Lee
13                                                       Attorneys for Plaintiff
                                                         Sony Interactive Entertainment LLC
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     NOTICE OF MOTION AND MOTION OF SONY INTERACTIVE ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT
     JUDGMENT    Case No. 5:18−cv−02141−JGB−KK
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                                           PROOF OF SERVICE
   1
        Sony Interactive Entertainment LLC v. Eric David Scales (doing business as Blackcloak13)
   2
        United States District Court, Center District of California, Case No. 5:18-cv-02141-JGB-KK
   3
                     I am over the age of eighteen (18) years and not a party to the within entitled
   4
             action. I am employed in the City and County of San Mateo and my business address is
             1700 South El Camino Real, Suite 450, San Mateo, California 94402. On the date last
   5         written below I served the following document(s):

   6   NOTICE OF MOTION AND MOTION OF SONY INTERACTIVE ENTERTAINMENT LLC’S
       MOTION FOR ENTRY OF DEFAULT JUDGMENT
   7
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF SONY INTERACTIVE
   8   ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT JUDGMENT

   9   DECLARATION OF JAMES Y. LEONG IN SUPPORT OF SONY INTERACTIVE
       ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT JUDGMENT
  10
       DECLARATION OF TIMOTHY PENGE IN SUPPORT OF SONY INTERACTIVE
  11   ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT JUDGMENT
  12
       DECLARATION OF MONIKA PLEYER LEE IN SUPPORT OF SONY INTERACTIVE
       ENTERTAINMENT LLC’S MOTION FOR ENTRY OF DEFAULT JUDGMENT
  13

  14         on the party(ies) by placing true and correct copies thereof in sealed envelopes for service
             addressed as follows:
  15
                Eric David Scales
  16            200 Drake St., #101
                Pomona, CA 91767
  17

  18
            ( X ) (By First Class Mail) I caused each such envelope, with first class postage
                  thereon fully prepaid, to be deposited in the U.S. mail at San Mateo, California.
  19
            (       ) (By Personal Service) I caused the above documents to be personally delivered
  20                  on the above party at the address indicated above .

  21                        Executed on February 22, 2019, at San Mateo, California.
  22        ( x ) I declare under penalty of perjury under the laws of the State of California that
                  the above is true and correct and that I am employed in the office of a member
  23              of the bar of this Court at whose direction service was made.
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                                                                              /s/J. Delk
                                                                             Jenifer Delk
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                                          PROOF OF SERVICE
